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8                                 UNITED STATES DISTRICT COURT

9                               CENTRAL DISTRICT OF CALIFORNIA

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11   RENEE MACLAUGHLAN BOZARTH and )                Case No. ED CV 17-1935 FMO (SHKx)
     STELLA BELL, individually and on behalf )
12   of all others similarly situated,       )
                                             )
13                          Plaintiffs,      )      JUDGMENT
                                             )
14                  v.                       )
                                             )
15   ENVISION HEALTHCARE                     )
     CORPORATION, et al.,                    )
16                                           )
                            Defendants.      )
17                                           )

18         Pursuant to the Court’s Order Re: Final Approval of Class Action Settlement (“Order”), filed

19   contemporaneously with the filing of this Judgment, IT IS ADJUDGED THAT

20         1. Plaintiffs Renee MacLaughlan Bozarth and Stella Bell shall be paid a service payment

21   of $2,500 and $1,250, respectively, in accordance with the terms of the Settlement Agreement and

22   the Order.

23         2. Class counsel shall be paid $1,850,000 in attorney’s fees and costs in accordance with

24   the terms of the Settlement Agreement and the Order.

25         3. The Claims Administrator, Rust, shall be paid for its fees and expenses in accordance

26   with the terms of the Settlement Agreement.

27         4. All class members who did not validly and timely request exclusion from the settlement

28   have released their claims, as set forth in the Settlement Agreement, against any of the released
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1    parties (as defined in the Settlement Agreement).

2           5. Except as to any class members who have validly and timely requested exclusion, this

3    action is dismissed with prejudice, with all parties to bear their own fees and costs except as

4    set forth herein and in the prior orders of the court.

5    Dated this 30th day of June, 2020.

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7                                                                       /s/
                                                                 Fernando M. Olguin
8                                                             United States District Judge

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